                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ANDREW J. MAXWELL, not                            )
individually, but as Trustee for the estate of    )
Eduardo Garcia and Julia Escamilla (nka           )     Case No. 1:20-cv-02402
Julia Garcia),                                    )
                                                  )
                              Plaintiff,          )     Honorable Rebecca R. Pallmeyer
                                                  )
               v.                                 )     Honorable Heather K. McShain
                                                  )
WELLS FARGO BANK, N.A.,                           )
                                                  )
                              Defendant.          )
                                                  )
                                                  )

                             QUALIFIED PROTECTIVE ORDER

       Pursuant to Rule 26(c) of the Federal Rules of Civil Procedure and 45 C.F.R.
§ 164.512(e)(1), the Court finds good cause for the issuance of a qualified protective order and
ORDERS as follows:

       1) The parties and their attorneys, and any future parties and their attorneys, in the above-
          captioned litigation are hereby authorized to receive, subpoena and transmit “protected
          health information” pertaining to the Parties in Interest to the extent and subject to the
          conditions outlined herein.

       2) For the purposes of this qualified protective order, “protected health information” shall
          have the same scope and definition as set forth in 45 C.F.R. §§ 160.103 and 164.501.
          Protected health information includes, but is not limited to, health information,
          including demographic information relating to either: (a) the past, present, or future
          physical or mental condition of an individual; (b) the provision of care to an individual;
          or (c) the payment for care provided to an individual, which identifies the individual or
          which reasonably could be expected to identify the individual.

       3) All “covered entities” (as defined by 45 C.F.R. § 160.103) are hereby authorized to
          disclose protected health information pertaining to the Parties in Interest, to attorneys
          representing the Parties in Interest in the above-captioned litigation.

       4) The parties and their attorneys shall be permitted to use or disclose the protected health
          information of the Parties in Interest for purposes of prosecuting or defending this
          action, including any appeals of this case. This includes, but is not necessarily limited
          to, disclosure to their attorneys, experts, consultants, court personnel, court reporters,



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         copy services, trial consultants, and other entities or persons involved in the litigation
         process.

      5) Prior to disclosing the Parties in Interest’s protected health information to persons
         involved in this litigation, counsel shall inform each such person that the Parties
         in Interest’s protected health information may not be used or disclosed for any
         purpose other than this litigation. Counsel shall take all other reasonable steps to ensure
         that persons receiving the Parties in Interest’s protected health information do not use
         or disclose such information for any purpose other than this litigation.

      6) Within 45 days after the conclusion of the litigation, including appeals, the parties, their
         attorneys, and any person or entity in possession of protected health information
         received from counsel pursuant to paragraph four of this Order, shall return the Parties
         in Interest’s protected health information to the covered entity or destroy any and all
         copies of protected health information pertaining the Parties in Interest, except that
         counsel are not required to secure the return or destruction of protected health
         information submitted to the court.

      7) This Order does not control or limit the use of protected health information pertaining
         to Plaintiff that comes into the possession of the parties or their attorneys from a source
         other than a “covered entity,” as that term is defined in 45 C.F.R. § 160.103.

      8) Nothing in this Order authorizes counsel for Defendant(s) to obtain medical records or
         information through means other than formal discovery requests, subpoenas,
         depositions, pursuant to a patient authorization, or other lawful process. Prior to
         requesting any drug and alcohol treatment records, or HIV and AIDS-related
         information, the requesting party must seek leave of court.

      9) This Order does not authorize either party to seal court filings or court proceedings.
         The Court will make a good cause determination for filing under seal if and when the
         parties seek to file the Parties in Interest’s protected health information under seal. See
         Local Rule 26.2.



Dated: August 30, 2021
                                             REBECCA R. PALLMEYER
                                             United States District Judge




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